Case: 1:20-cv-02322-DAR Doc #: 56-3 Filed: 12/27/23 1 of 2. PageID #: 837




                EXHIBIT 3
     Case: 1:20-cv-02322-DAR Doc #: 56-3 Filed: 12/27/23 2 of 2. PageID #: 838


From:                  Kyle D. Stroup
To:                    Peter Curtin; Nathan F. Studeny; Jon W. Groza; Jon J. Pinney
Cc:                    Yichen Cao; Campbell, Jay R.; Ostrowski, Carter S.; Elliot Mendelson
Subject:               RE: NOCO v. Aukey, et al., 1:20-cv-02322 (ND Ohio) - Deposition Notices for Discussion
Date:                  Thursday, December 21, 2023 4:49:31 PM


Thanks for sending these along, Pete. As we discussed earlier today on our phone call, we will confer
with the proposed deponents and our client and report back with some acceptable dates. We also
discussed that, given the pending discovery dispute between the Parties and Analects Legal’s motion
to withdraw as counsel for Defendants, your proposed depositions will not be occurring on January
2nd or January 3rd.

We also look forward to reviewing your proposed motions for extension of time to respond to the
discovery dispute letter and for extension/stay of the case deadlines. We will also be on the lookout
for Defendants’ supplemental responses to NOCO’s First Set of Requests for Admissions and
Defendants’ objections to NOCO’s Fed. R. Civ. P. 30(b)(6) deposition notice of Defendants’ corporate
representatives and proposed topics for examination contained therein.

Please let us know if you have any questions.

Thank you,



KYLE D. STROUP
Associate | KJK


D 216.736.7231 | M 330.978.6549 | E kds@KJK.com
1375 E 9th Street, 29th Floor | Cleveland, Ohio 44114
KJK.com | Confidentiality Notice


Newsletter Sign-Up | KJK's Innovative Programs
LinkedIn | Facebook | Twitter



From: Peter Curtin <pcurtin@analectslegal.com>
Sent: Thursday, December 21, 2023 3:49 PM
To: Kyle D. Stroup <kds@kjk.com>; Nathan F. Studeny <nfs@kjk.com>; Jon W. Groza
<jwg@kjk.com>; Jon J. Pinney <jjp@kjk.com>
Cc: Yichen Cao <ycao@analectslegal.com>; Campbell, Jay R. <Jay.Campbell@tuckerellis.com>;
Ostrowski, Carter S. <Carter.Ostrowski@tuckerellis.com>; Elliot Mendelson
<emendelson@analectslegal.com>
Subject: RE: NOCO v. Aukey, et al., 1:20-cv-02322 (ND Ohio) - Deposition Notices for Discussion

Hello Counsel –

Please find attached copies of the individual deposition notices served last
night with some typos corrected for the sake of clarity.
